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                        UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF ILLINOIS


Wesley Pabst, et al.

               Plaintiffs
                                                       No. 1:22-cv-01124
       v.

The Peoples Gas Light & Coke Co., et al.

               Defendants



                       DEFENDANTS’ MOTION TO STAGE DISCOVERY

       Defendants The Peoples Gas Light & Coke Co. (“Peoples Gas”), WEC Energy Group Inc.

(“WEC Energy”), and The Broydrick Group, LLC (“Broydrick”) respectfully ask this Court to

adopt a staged approach to discovery in this matter, in the interests of efficiency and judicial

economy. In support of their Motion, Defendants state, as follows:

       1.      This asserted class action arises from a December 2016 incident at a gas

injection/withdrawal well at Peoples Gas’s underground storage facility in Mahomet, Illinois, in

which natural gas leaked from the well into the local aquifer.

       2.      On May 3, Defendants intend to move to dismiss the RICO causes of action against

all three Defendants, all remaining claims against WEC Energy, and certain other claims against

Peoples Gas. While some of the common law claims against Peoples Gas will remain, Defendants

believe that there are extraordinarily strong threshold issues that will be presented by their Rule

12(b)(6) motion as to whether Plaintiffs’ RICO claims may proceed and whether an indirect parent

holding company may be held liable in tort merely by its corporate status. Moreover, if the Court

dismisses the RICO claims against Broydrick and WEC Energy, all bases of federal jurisdiction –

both RICO and CAFA – will be lost, unless the Court opts to continue to exercise supplemental
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jurisdiction. Regardless, if the RICO claims are dismissed, this will substantially narrow the scope

of the parties, claims, and defenses at issue in this lawsuit at the outset, and the issues to be

presented at the class certification stage.

        3.      Accordingly, Defendants propose that discovery should be sequenced and tailored

to focus first on the issues at the heart of Plaintiffs’ claims: the December 2016 incident at the gas

storage facility in Mahomet, Illinois, and Peoples Gas’s response, the named Plaintiffs’ individual

circumstances, and matters pertinent to whether any class should be certified, and if so the scope

of such a class.

        4.      Counsel for Defendants bring this Motion after consulting with counsel for

Plaintiffs by email on April 15 and 18 and by telephone on April 19, in good faith efforts to resolve

the issues raised in this Motion, but the parties were unable to reach an accord.

        5.      In further support of this Motion, Defendants file herewith the accompanying

Memorandum in Support of this Motion to Stage Discovery.

        For the foregoing reasons, Defendants The Peoples Gas Light & Coke Co., WEC Energy

Group Inc., and The Broydrick Group, LLC, respectfully ask this Court to grant their Motion and

enter a targeted, staged discovery plan in this case.

Dated: April 19, 2022                             /s/ Edward Casmere
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                                     Counsel for Defendants The Peoples Gas Light
                                     & Coke Co., WEC Energy Group Inc., and The
                                     Broydrick Group, LLC




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on April 19, 2022, I caused the foregoing document to be electronically

filed used the CM/ECF system, which will send notice of this filing to all counsel and parties of

record.


                                                /s/ Edward Casmere




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